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                   EXHIBIT A
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 137-1 Filed 04/28/21 Page 2 of 50 Page ID
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                                                                                                                1   LAUREN E. GROCHOW, Bar No. 293601
                                                                                                                    lauren.grochow@troutman.com
                                                                                                                2   TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                                                                                    5 Park Plaza, Suite 1400
                                                                                                                3   Irvine, CA 92614-2545
                                                                                                                    Telephone: 949.622.2700
                                                                                                                4   Facsimile: 949.622.2739
                                                                                                                5   DANIEL N. ANZISKA, Pro Hac Vice
                                                                                                                    daniel.anziska@troutman.com
                                                                                                                6   TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                                                                                    875 Third Avenue
                                                                                                                7   New York, NY 10022
                                                                                                                    Telephone: 212.704.6000
                                                                                                                8   Facsimile: 212.704.6288
                                                                                                                9   MACKENZIE L. WILLOW-JOHNSON, Pro Hac Vice
                                                                                                                    mackenzie.willow-johnson@troutman.com
                                                                                                               10   TROUTMAN PEPPER HAMILTON SANDERS LLP
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                    305 Church at North Hills Street, Suite 1200
                                                                                                               11   Raleigh, NC 27609
                                                                                                                    Telephone: 919.740.9949
                                                                                                               12   Facsimile: 704.998.4051
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   Attorneys for Defendants
                                                                                                                    FARADAY&FUTURE INC., SMART KING LTD.
                                                                                                               14   JIAWEI WANG, and CHAOYING DENG
                                                                                                               15                       UNITED STATES DISTRICT COURT
                                                                                                               16                      CENTRAL DISTRICT OF CALIFORNIA
                                                                                                               17                               WESTERN DIVISION
                                                                                                               18
                                                                                                               19   HONG LIU,                              Case No. 2:20-cv-08035-SVW-JPR
                                                                                                               20                 Plaintiff,               Honorable Stephen V. Wilson
                                                                                                               21           v.                             DEFENDANT
                                                                                                                                                           FARADAY&FUTURE INC.’S
                                                                                                               22   FARADAY&FUTURE INC.,                   SECOND AMENDED ANSWER TO
                                                                                                                    SMART KING LTD., JIAWEI                COMPLAINT
                                                                                                               23   WANG, AND CHAOYING DENG
                                                                                                               24                 Defendants.
                                                                                                               25
                                                                                                               26
                                                                                                               27
                                                                                                               28

                                                                                                                    115555715
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                                                                                                                1           Defendant Faraday&Future, Inc. (“FF”) hereby answers the Complaint
                                                                                                                2   (“Complaint”) of Plaintiff Hong Liu (“Liu”), as follows:
                                                                                                                3           1.     FF denies the allegations of Paragraph 1.
                                                                                                                4           2.     FF admits that Liu was a partner at Mayer Brown. FF denies the
                                                                                                                5   allegations in Paragraph 2 on information and belief.
                                                                                                                6           3.     FF admits that Yueting Jia (“Jia”) is FF’s founder. FF denies the
                                                                                                                7   remaining allegations in Paragraph 3.
                                                                                                                8           4.     FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                                9   truth or falsity of the allegations of what Liu knew. FF denies the remaining
                                                                                                               10   allegations in Paragraph 4.
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                                                                                                               11           5.     FF denies the allegations in Paragraph 5.
                                                                                                               12           6.     To the extent Paragraph 6 contains conclusions of law, which do not
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   require a responsive pleading and on that basis, FF denies those conclusions. FF
                                                                                                               14   denies the remaining allegations in Paragraph 6.
                                                                                                               15           7.     FF does not challenge the Court’s subject matter jurisdiction over this
                                                                                                               16   action.
                                                                                                               17           8.     FF denies the allegations in Paragraph 8. The Southern District of New
                                                                                                               18   York does not have personal jurisdiction over FF in this action.
                                                                                                               19           9.     FF denies the allegations in Paragraph 9. The Court already found that
                                                                                                               20   venue is not proper in the Southern District of New York.
                                                                                                               21           10.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               22   truth or falsity of the allegations in Paragraph 10 and on that ground, denies those
                                                                                                               23   allegations.
                                                                                                               24           11.    FF admits the allegations in Paragraph 11.
                                                                                                               25           12.    FF admits the allegations in Paragraph 12.
                                                                                                               26           13.    FF admits the allegations in Paragraph 13.
                                                                                                               27           14.    FF admits the allegations in Paragraph 14.
                                                                                                               28

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                                                                                                                1           15.    FF admits that Liu represented that he was a New York-based attorney.
                                                                                                                2   FF denies the remaining allegation in Paragraph 15 on information and belief.
                                                                                                                3           16.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                                4   truth or falsity of the allegations in Paragraph 16 and on that ground, denies those
                                                                                                                5   allegations.
                                                                                                                6           17.    FF admits that, according to publicly available records Liu was admitted
                                                                                                                7   to the New York State Bar.
                                                                                                                8           18.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                                9   truth or falsity of the allegations in Paragraph 18 and on that ground, denies those
                                                                                                               10   allegations.
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                                                                                                               11           19.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               12   truth or falsity of the allegations in Paragraph 19 and on that ground, denies those
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   allegations.
                                                                                                               14           20.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               15   truth or falsity of the allegations in Paragraph 20 and on that ground, denies those
                                                                                                               16   allegations.
                                                                                                               17           21.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               18   truth or falsity of the allegations in Paragraph 21 and on that ground, denies those
                                                                                                               19   allegations.
                                                                                                               20           22.    FF admits that Liu was a partner at Mayer Brown. FF lacks knowledge
                                                                                                               21   or information sufficient to form a belief as to the truth or falsity of the allegations in
                                                                                                               22   Paragraph 22 and on that ground, denies those allegations.
                                                                                                               23           23.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               24   truth or falsity of the allegations in Paragraph 23 and on that ground, denies those
                                                                                                               25   allegations.
                                                                                                               26           24.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               27   truth or falsity of the allegations in Paragraph 24 and on that ground, denies those
                                                                                                               28   allegations.

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                                                                                                                1           25.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                                2   truth or falsity of the allegations in Paragraph 25 and on that ground, denies those
                                                                                                                3   allegations.
                                                                                                                4           26.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                                5   truth or falsity of the allegations in Paragraph 26 and on that ground, denies those
                                                                                                                6   allegations.
                                                                                                                7           27.    FF admits that Liu was a partner at Mayer Brown. FF lacks knowledge
                                                                                                                8   or information sufficient to form a belief as to the truth or falsity of the allegation
                                                                                                                9   that “[b]etween October 2017 and mid-February 2018” Liu was “at the pinnacle of
                                                                                                               10   his success” and on that ground, denies those allegations. FF denies the remaining
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                                                                                                               11   allegations in in Paragraph 27.
                                                                                                               12           28.    FF denies the allegations in Paragraph 28.
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                                                                                                               13           29.    FF admits that Liu represented that he was “a globally respected
                                                                                                               14   professional with decades of experience” and that it believed that hiring Lie would
                                                                                                               15   benefit its business. FF denies the remaining allegations in Paragraph 29.
                                                                                                               16           30.    FF admits that Jia was FF’s founder and that Jia has filed a personal
                                                                                                               17   bankruptcy case in the United States Bankruptcy Court for the Central District of
                                                                                                               18   California. FF denies the remaining allegations in Paragraph 30.
                                                                                                               19           31.    FF admits that Liu met Jia at FF’s headquarters on October 17, 2017.
                                                                                                               20   FF denies the remaining allegations in Paragraph 31.
                                                                                                               21           32.    FF denies the allegations in Paragraph 32.
                                                                                                               22           33.    FF denies the allegations in Paragraph 33.
                                                                                                               23           34.    FF denies the allegations in Paragraph 34.
                                                                                                               24           35.    FF denies the allegations in Paragraph 35.
                                                                                                               25           36.    FF denies the allegations in Paragraph 36.
                                                                                                               26           37.    FF admits that during the month of January 2018, Liu met with Jia,
                                                                                                               27   Jiawei “Jerry” Wang (“Wang”), and Chaoying Deng (“Deng”) at FF’s headquarters
                                                                                                               28   in California. FF denies the remaining allegations in Paragraph 37.

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                                                                                                                1           38.   FF admits that Sidley Austin LLP was one of the law firms that handled
                                                                                                                2   FF’s Series A transaction with Evergrande. FF denies the remaining allegation in
                                                                                                                3   Paragraph 38.
                                                                                                                4           39.   FF denies the allegations in Paragraph 39.
                                                                                                                5           40.   FF admits that Liu was a partner at Mayer Brown. FF lacks knowledge
                                                                                                                6   or information sufficient to form a belief as to the truth or falsity of the allegations of
                                                                                                                7   Liu’s beliefs and on that basis denies those allegations. FF denies the remaining
                                                                                                                8   allegations in Paragraph 40.
                                                                                                                9           41.   FF denies the allegation in Paragraph 41.
                                                                                                               10           42.   To the extent the allegations in Paragraph 42 purport to describe, quote
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                                                                                                               11   or characterize written communications or documents, the communications or
                                                                                                               12   documents speak for themselves, should be read as a whole, and would provide only
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                                                                                                               13   as expressly stated therein. FF denies the remaining allegations in Paragraph 42.
                                                                                                               14           43.   FF admits that on January 25, 2018, Liu entered into the Employment
                                                                                                               15   Agreement attached to the Complaint as Exhibit A. To the extent Paragraph 43
                                                                                                               16   purports to describe, quote, or characterize the terms of the Employment Agreement,
                                                                                                               17   the document speaks for itself, should be read as a whole, and would provide only as
                                                                                                               18   expressly stated therein. FF denies the remaining allegations in Paragraph 43.
                                                                                                               19           44.   FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               20   truth or falsity of the allegations in Paragraph 44 and on that basis denies those
                                                                                                               21   allegations. FF denies the remaining allegations in Paragraph 44.
                                                                                                               22           45.   To the extent Paragraph 45 purports to describe, quote, or characterize
                                                                                                               23   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               24   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               25   remaining allegations in Paragraph 45.
                                                                                                               26           46.   To the extent Paragraph 46 purports to describe, quote, or characterize
                                                                                                               27   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               28

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                                                                                                                                                                                 Exhibit A, Page 19
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                                                                                                                1   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                                2   remaining allegations in Paragraph 46.
                                                                                                                3           47.   To the extent Paragraph 47 purports to describe, quote, or characterize
                                                                                                                4   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                5   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                                6   remaining allegations in Paragraph 47.
                                                                                                                7           48.   To the extent Paragraph 48 purports to describe, quote, or characterize
                                                                                                                8   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                9   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               10   remaining allegations in Paragraph 48.
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                                                                                                               11           49.   To the extent Paragraph 49 purports to describe, quote, or characterize
                                                                                                               12   the terms of the Employment Agreement, the document speaks for itself, should be
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                                                                                                               13   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               14   remaining allegations in Paragraph 49.
                                                                                                               15           50.   To the extent Paragraph 50 purports to describe, quote, or characterize
                                                                                                               16   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               17   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               18   remaining allegations in Paragraph 50.
                                                                                                               19           51.   To the extent Paragraph 51 purports to describe, quote, or characterize
                                                                                                               20   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               21   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               22   remaining allegations in Paragraph 51.
                                                                                                               23           52.   FF denies the allegations in Paragraph 52.
                                                                                                               24           53.   To the extent Paragraph 53 purports to describe, quote, or characterize
                                                                                                               25   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               26   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               27   remaining allegations in Paragraph 53.
                                                                                                               28

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                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 137-1 Filed 04/28/21 Page 8 of 50 Page ID
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                                                                                                                1           54.    To the extent Paragraph 54 purports to describe, quote, or characterize
                                                                                                                2   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                3   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                                4   remaining allegations in Paragraph 54.
                                                                                                                5           55.    FF lacks knowledge or information sufficient to form a belief as to what
                                                                                                                6   Liu would have done and on that basis denies those allegations. FF denies the
                                                                                                                7   remaining allegations in Paragraph 55.
                                                                                                                8           56.    To the extent Paragraph 56 purports to describe, quote or characterize
                                                                                                                9   the terms of the Director Agreement, the document speaks for itself, should be read
                                                                                                               10   as a whole, and would provide only as expressly stated therein. FF denies the
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                                                                                                               11   remaining allegations in Paragraph 56.
                                                                                                               12           57.    To the extent Paragraph 57 purports to describe, quote, or characterize
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   the terms of the Director Agreement, the document speaks for itself, should be read
                                                                                                               14   as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               15   remaining allegations in Paragraph 57.
                                                                                                               16           58.    To the extent Paragraph 58 purports to describe, quote, or characterize
                                                                                                               17   the terms of the Director Agreement, the document speaks for itself, should be read
                                                                                                               18   as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               19   remaining allegations in Paragraph 58.
                                                                                                               20           59.    FF lacks knowledge and information sufficient to form a belief as to the
                                                                                                               21   truth or falsity of the allegations in Paragraph 59 and on that ground, denies those
                                                                                                               22   allegations.
                                                                                                               23           60.    FF admits the allegations in Paragraph 60.
                                                                                                               24           61.    FF lacks knowledge and information sufficient to form a belief as to the
                                                                                                               25   truth or falsity of the allegations in Paragraph 61 and on that ground, denies those
                                                                                                               26   allegations.
                                                                                                               27           62.    FF admits that it paid $600,000 to Liu on his start date. To the extent
                                                                                                               28   Paragraph 62 purports to describe, quote, or characterize the terms of the

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                                                                                                                                                                                Exhibit A, Page 21
                                                                                                              Case 2:20-cv-08035-SVW-JPR Document 137-1 Filed 04/28/21 Page 9 of 50 Page ID
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                                                                                                                1   Employment Agreement, the document speaks for itself, should be read as a whole,
                                                                                                                2   and would provide only as expressly stated therein. FF denies the remaining
                                                                                                                3   allegations in Paragraph 62.
                                                                                                                4           63.    FF denies the allegations in Paragraph 63.
                                                                                                                5           64.    To the extent Paragraph 64 purports to describe, quote, or characterize
                                                                                                                6   the terms of the September 2018 Resolutions, the documents speak for themselves,
                                                                                                                7   should be read as a whole, and would provide only as expressly stated therein. FF
                                                                                                                8   denies the remaining allegations in Paragraph 64.
                                                                                                                9           65.    To the extent Paragraph 65 purports to describe, quote, or characterize
                                                                                                               10   the terms of the Employment Agreement or the September 2018 Resolutions, the
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                                                                                                               11   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               12   as expressly stated therein. FF denies the remaining allegations in Paragraph 65.
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13           66.    To the extent Paragraph 66 purports to describe, quote, or characterize
                                                                                                               14   the terms of the September 2018 Resolutions, the documents speak for themselves,
                                                                                                               15   should be read as a whole, and would provide only as expressly stated therein. FF
                                                                                                               16   denies the remaining allegations in Paragraph 66.
                                                                                                               17           67.    FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                               18   truth or falsity of the allegations in Paragraph 67 as to the documents issued by
                                                                                                               19   Solium and whether Liu accessed his information on Solium’s website. FF denies
                                                                                                               20   the remaining allegations in Paragraph 67.
                                                                                                               21           68.    FF lacks knowledge and information sufficient to form a belief as to the
                                                                                                               22   truth or falsity of the allegations in Paragraph 68 and on that ground, denies those
                                                                                                               23   allegations.
                                                                                                               24           69.    FF denies the allegations in Paragraph 69.
                                                                                                               25           70.    FF denies the allegations in Paragraph 70.
                                                                                                               26           71.    FF denies the allegations in Paragraph 71.
                                                                                                               27           72.    FF denies the allegations in Paragraph 72.
                                                                                                               28           73.    FF denies the allegations in Paragraph 73.

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                                                                                                                1           74.   To the extent the allegations in Paragraph 74 purport to describe, quote
                                                                                                                2   or characterize written communications or documents, the communications or
                                                                                                                3   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                                4   as expressly stated therein. FF denies the remaining allegations in Paragraph 74.
                                                                                                                5           75.   To the extent the allegations in Paragraph 75 purport to describe, quote
                                                                                                                6   or characterize written communications or documents, the communications or
                                                                                                                7   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                                8   as expressly stated therein. FF denies the allegations in Paragraph 75.
                                                                                                                9           76.   FF denies the allegations in Paragraph 76.
                                                                                                               10           77.   FF denies the allegations in Paragraph 77.
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                                                                                                               11           78.   FF denies the allegations in Paragraph 78.
                                                                                                               12           79.   FF denies the allegations in Paragraph 79.
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13           80.   FF denies the allegations in Paragraph 80.
                                                                                                               14           81.   FF denies the allegations in Paragraph 81.
                                                                                                               15           82.   To the extent the allegations in Paragraph 82 purport to describe, quote
                                                                                                               16   or characterize written communications or documents, the communications or
                                                                                                               17   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               18   as expressly stated therein. FF denies the remaining allegations in Paragraph 82.
                                                                                                               19           83.   To the extent the allegations in Paragraph 83 purport to describe, quote
                                                                                                               20   or characterize written communications or documents, the communications or
                                                                                                               21   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               22   as expressly stated therein. FF denies the remaining allegations in Paragraph 83.
                                                                                                               23           84.   FF denies the allegations in Paragraph 84.
                                                                                                               24           85.   FF denies the allegations in Paragraph 85.
                                                                                                               25           86.   FF admits that Liu was terminated on February 11, 2019. FF denies the
                                                                                                               26   remaining allegations in Paragraph 86.
                                                                                                               27           87.   FF denies the allegations in Paragraph 87.
                                                                                                               28           88.   FF denies the allegations in Paragraph 88.

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                                                                                                                1           89.   FF denies the allegations in Paragraph 89.
                                                                                                                2           90.   FF denies the allegations in Paragraph 90.
                                                                                                                3           91.   FF denies the allegations in Paragraph 91.
                                                                                                                4           92.   FF denies the allegations in Paragraph 92.
                                                                                                                5           93.   FF denies the allegations in Paragraph 93.
                                                                                                                6           94.   FF denies the allegations in Paragraph 94.
                                                                                                                7           95.   To the extent Paragraph 95 purports to describe, quote or characterize
                                                                                                                8   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                9   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               10   remaining allegations in Paragraph 95.
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                                                                                                               11           96.   To the extent Paragraph 96 purports to describe, quote or characterize
                                                                                                               12   the terms of the Employment Agreement, the document speaks for itself, should be
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                                                                                                               13   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               14   remaining allegations in Paragraph 96.
                                                                                                               15           97.   To the extent Paragraph 97 purports to describe, quote or characterize
                                                                                                               16   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               17   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               18   remaining allegations in Paragraph 97.
                                                                                                               19           98.   To the extent Paragraph 98 purports to describe, quote, or characterize
                                                                                                               20   the terms of the September 2018 Resolutions, the documents speak for themselves,
                                                                                                               21   should be read as a whole, and would provide only as expressly stated therein. FF
                                                                                                               22   denies the remaining allegations in Paragraph 98.
                                                                                                               23           99.   FF admits that, in October 2019, Jia filed for bankruptcy protection in
                                                                                                               24   the United States. To the extent Paragraph 99 purports to describe, quote, or
                                                                                                               25   characterize the documents filed with the bankruptcy court, the document speaks for
                                                                                                               26   themselves, should be read as a whole, and would provide only as expressly stated
                                                                                                               27   therein. To the extent Paragraph 99 contains conclusions of law, which do not require
                                                                                                               28

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                                                                                                                1   a responsive pleading and on that basis, FF denies those conclusions. FF denies the
                                                                                                                2   remaining allegations in Paragraph 99.
                                                                                                                3           100. FF denies the allegations in Paragraph 100.
                                                                                                                4           101. FF denies the allegations in Paragraph 101.
                                                                                                                5           102. FF lacks knowledge or information sufficient to form a belief as to the
                                                                                                                6   truth or falsity of the allegations in Paragraph 102 relating to Liu’s “extensive client
                                                                                                                7   relationships” that he “transitioned to colleagues” and on that ground, denies those
                                                                                                                8   allegations. FF denies the allegations in Paragraph 102.
                                                                                                                9           103. FF denies the allegations of Paragraph 103.
                                                                                                               10           104. FF admits that on December 17, 2019, the office of the United States
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                                                                                                               11   Trustee filed a motion in Jia’s bankruptcy case, seeking the appointment of a Chapter
                                                                                                               12   11 trustee. FF denies the remaining allegations in Paragraph 104.
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                                                                                                               13           105. FF denies the allegations in Paragraph 105.
                                                                                                               14           106. FF denies the allegations in Paragraph 106.
                                                                                                               15           107. FF denies the allegations in Paragraph 107.
                                                                                                               16           108. FF denies the allegations in Paragraph 108.
                                                                                                               17           109. FF incorporates each of its previous responses as if fully set forth herein.
                                                                                                               18           110. FF denies the allegations in Paragraph 110.
                                                                                                               19           111. FF denies the allegations in Paragraph 111.
                                                                                                               20           112. To the extent Paragraph 112 purports to describe, quote, or characterize
                                                                                                               21   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               22   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               23   remaining allegations in Paragraph 112.
                                                                                                               24           113. To the extent Paragraph 113 purports to describe, quote, or characterize
                                                                                                               25   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               26   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               27   remaining allegations in Paragraph 113.
                                                                                                               28

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                                                                                                                1           114. To the extent Paragraph 114 purports to describe, quote, or characterize
                                                                                                                2   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                3   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                                4   remaining allegations in Paragraph 114.
                                                                                                                5           115. FF denies the allegations in Paragraph 115.
                                                                                                                6           116. FF denies the allegations in Paragraph 116.
                                                                                                                7           117. FF incorporates each of its previous responses as if fully set forth herein.
                                                                                                                8           118. FF denies the remaining allegation in Paragraph 118.
                                                                                                                9           119. FF denies the allegations in Paragraph 119.
                                                                                                               10           120. FF admits that Liu was a partner at Mayer Brown prior to joining FF.
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                                                                                                               11   FF denies the remaining allegation in Paragraph 120.
                                                                                                               12           121. FF denies the allegations in Paragraph 121.
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                                                                                                               13           122. FF denies the allegations in Paragraph 122.
                                                                                                               14           123. FF denies the allegations in Paragraph 123.
                                                                                                               15           124. FF incorporates each of its previous responses as if fully set forth herein.
                                                                                                               16           125. FF denies the allegations in Paragraph 125.
                                                                                                               17           126. FF denies the allegations in Paragraph 126.
                                                                                                               18           127. FF admits that Liu was a partner at Mayer Brown prior to joining FF.
                                                                                                               19   FF denies the remaining allegation in Paragraph 127.
                                                                                                               20           128. FF denies the allegations in Paragraph 128.
                                                                                                               21           129. FF denies the allegations in Paragraph 129.
                                                                                                               22           130. FF denies the allegations in Paragraph 130.
                                                                                                               23           131. FF incorporates each of its previous responses as if fully set forth herein.
                                                                                                               24           132. FF denies the allegations in Paragraph 132.
                                                                                                               25           133. FF denies the allegations in Paragraph 133.
                                                                                                               26           134. FF denies the allegations in Paragraph 134.
                                                                                                               27           135. FF denies the allegations in Paragraph 135.
                                                                                                               28           136. FF incorporates each of its previous responses as if fully set forth herein.

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                                                                                                                1           137. FF denies the allegations in Paragraph 137.
                                                                                                                2           138. FF denies the allegations in Paragraph 138.
                                                                                                                3           139. FF denies the allegations in Paragraph 139.
                                                                                                                4           140. FF denies the allegations in Paragraph 140.
                                                                                                                5           141. FF incorporates each of its previous responses as if fully set forth herein.
                                                                                                                6           142. FF denies the allegations in Paragraph 142.
                                                                                                                7           143. FF denies the allegations in Paragraph 143.
                                                                                                                8           144. FF denies the allegations in Paragraph 144.
                                                                                                                9           145. FF denies the allegations in Paragraph 145.
                                                                                                               10           146. FF denies the allegations in Paragraph 146.
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                                                                                                               11           147. FF incorporates each of its previous responses as if fully set forth herein.
                                                                                                               12           148. To the extent Paragraph 148 purports to describe, quote, or characterize
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                                                                                                               13   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               14   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               15   remaining allegations in Paragraph 148.
                                                                                                               16           149. To the extent Paragraph 149 purports to describe, quote, or characterize
                                                                                                               17   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               18   read as a whole, and would provide only as expressly stated therein. FF denies the
                                                                                                               19   remaining allegations in Paragraph 149.
                                                                                                               20           150. FF denies the allegations in Paragraph 150.
                                                                                                               21           151. FF denies the allegations in Paragraph 151.
                                                                                                               22           152. FF asserts that no response is required to the prayer for relief on
                                                                                                               23   page 28 of the Complaint. To the extent that the paragraphs of that clause may be
                                                                                                               24   deemed to allege any factual or legal entitlement to the relief requested, FF denies
                                                                                                               25   each and every such allegation and specifically denies that Liu is entitled to any
                                                                                                               26   relief, including, but not limited to, the relief requested in subparts 1 through 11
                                                                                                               27   thereof.
                                                                                                               28

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                                                                                                                1           153. All allegations not specifically admitted or responded to are denied.
                                                                                                                2                               AFFIRMATIVE DEFENSES
                                                                                                                3           Without assuming the burden of proof as to any of the defenses set forth herein
                                                                                                                4   where such burden would otherwise rest with Liu, FF alleges the following
                                                                                                                5   affirmative defenses to the Complaint and to the relief sought therein:
                                                                                                                6                                 First Affirmative Defense
                                                                                                                7                                 (Failure to State a Claim)
                                                                                                                8           1.    Liu’s Complaint fails in whole or in part to state a claim against FF upon
                                                                                                                9   which relief may be granted.
                                                                                                               10                                Second Affirmative Defense
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                                                                                                               11                                   (Constructive Fraud)
                                                                                                               12           2.    Liu’s Complaint and the causes of action alleged therein are barred, in
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                                                                                                               13   whole or in part, because of the constructive fraud that Liu committed in entering the
                                                                                                               14   Employment Agreement with FF.1 As memorialized in the executed October 20,
                                                                                                               15   2017 Engagement Letter (that Liu executed on Mayer’s behalf), the Work Plan, and
                                                                                                               16   the accompanying documents provided by Mayer Brown and Liu to FF, Liu and FF
                                                                                                               17   had an attorney client relationship. By virtue of that relationship, Liu owed FF
                                                                                                               18   fiduciary duties, including the duty of care, loyalty, competence, good faith, the duty
                                                                                                               19   to inform FF of that information necessary to obtain FF’s informed written consent
                                                                                                               20   to the transaction under governing rules of professional responsibility, and the duty
                                                                                                               21   to fully disclose all material facts within his knowledge and which FF was ignorant.
                                                                                                               22   Liu owed these duties to FF at the time that he entered the Employment Agreement
                                                                                                               23   with FF.
                                                                                                               24
                                                                                                               25
                                                                                                                    1
                                                                                                               26     Defendant FF Intelligent Mobility Global Holdings Ltd. f/k/a Smart King, Ltd.
                                                                                                                    (“Smart King”) was also a party to the Employment Agreement. Thus, where FF
                                                                                                               27
                                                                                                                    is referenced within these Affirmative Defenses as a party to the Employment
                                                                                                               28   Agreement, it should be understood to include Smart King as well.

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                                                                                                                1           As detailed in FF’s Second Amended Complaint (“SAC”) and incorporated
                                                                                                                2   herein, the Employment Agreement was extremely advantageous to Liu to FF’s
                                                                                                                3   detriment, by, among other things, providing guaranteed remuneration and other
                                                                                                                4   benefits to Liu, advancement of millions of dollars upon termination, immediate
                                                                                                                5   vesting of options even if it was found that Liu breached his fiduciary obligations to
                                                                                                                6   FF (again, without disclosing the material adverse consequences that could result to
                                                                                                                7   FF as a result), and by unconscionably restricting the terms under which FF could
                                                                                                                8   terminate Liu. Liu knew, or should have known, that the Employment Agreement
                                                                                                                9   was extremely advantageous to himself to the detriment of FF, but misled FF, in
                                                                                                               10   breach of his duties of care, loyalty, competence, good faith, and the duty to fully
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                                                                                                               11   disclose all material facts within his knowledge and which FF was ignorant, by using
                                                                                                               12   his undue influence over FF and omitting that the terms of the Employment
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                                                                                                               13   Agreement were not fair and reasonable to FF.
                                                                                                               14           Liu was legally bound under the New York and California Rules of
                                                                                                               15   Professional Conduct, as applicable, to disclose that the transaction was not fair and
                                                                                                               16   reasonable, to properly disclose his role in the transaction, to advise FF in writing to
                                                                                                               17   obtain independent counsel, and to give FF adequate time to seek that independent
                                                                                                               18   counsel. Liu omitted this information and failed to act in order to mislead FF into
                                                                                                               19   entering into the Employment Contract. FF justifiably relied on Liu based, in part,
                                                                                                               20   on his position as FF’s attorney when it entered the Employment Agreement.
                                                                                                               21                                 Third Affirmative Defense
                                                                                                               22                                (Rescission Based on Fraud)
                                                                                                               23           3.     Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               24   upon the Employment Agreement, which, based on the constructive fraud that Liu
                                                                                                               25   committed against FF, as detailed under FF’s First Affirmative Defense, is
                                                                                                               26   rescindable.
                                                                                                               27
                                                                                                               28

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                                                                                                                1                               Fourth Affirmative Defense
                                                                                                                2                               (No Wrongful Termination)
                                                                                                                3           4.   Liu has not and cannot point to any potential or actual violation by FF
                                                                                                                4   of a fundamental, substantial and well-established public policy of state law
                                                                                                                5   grounded in a statute or constitutional provision, nor can Liu point to any complaint
                                                                                                                6   made to FF regarding the same. As such, Liu’s allegations are, at best, mere
                                                                                                                7   disagreements about policy and, thus are not actionable.
                                                                                                                8                                Fifth Affirmative Defense
                                                                                                                9          (Reasonable, Good Faith, Non-Discriminatory, and Non-Retaliatory)
                                                                                                               10           5.   Liu’s claim for wrongful termination is barred because FF had good
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                                                                                                               11   cause to terminate Liu.      FF acted reasonably, in good faith, and in a non-
                                                                                                               12   discriminatory and non-retaliatory manner. Liu was terminated for his failure to
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                                                                                                               13   perform under his rolesthe following specific tasks as FF’s Global General Counsel,
                                                                                                               14   Global Chief Administrative Officer, and Global Senior Advisor: (i) failure to lead
                                                                                                               15   FF to an IPO; (ii) failure to connect FF with investment banks; (iii) failure to assist
                                                                                                               16   FF when its Series A investor, Evergrande Health Industry Group backed-out of its
                                                                                                               17   funding commitment; (iv) failure to provide substantive advice as to the EVelozcity
                                                                                                               18   litigation, vendor concerns regarding indemnification, the recording of internal FF
                                                                                                               19   meetings, and a potential reduction in FF’s workforce; and (v) repeatedly harassed
                                                                                                               20   FF’s equity incentive program manager and threatened to fire FF’s outside counsel
                                                                                                               21   when it decline to provide him with grants at illegal exercise prices. Liu was also
                                                                                                               22   terminated for his serious breaches of contract and the fiduciary duties that he owed
                                                                                                               23   to FF, including, but not limited to, the duties of loyalty, care, and competence.
                                                                                                               24                                Sixth Affirmative Defense
                                                                                                               25    (Breach of Fiduciary Duty for Violation of the Rules of Professional Conduct)
                                                                                                               26           6.   Liu’s Complaint is barred, in whole or in part, on the ground that Liu
                                                                                                               27   breached the fiduciary duties that he owed to FF and Smart King by his violation of
                                                                                                               28   New York Rules of Professional Conduct 1.5, 1.7 and 1.8 and California Rules of

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                                                                                                                1   Professional Conduct 3-300, 3-310, and 4-200.2 Liu is a New York barred attorney
                                                                                                                2   and was thus subject to the New York Rules of Professional Conduct at the time that
                                                                                                                3   he entered into the Employment Agreement with FF. At the time that Liu negotiated
                                                                                                                4   and entered the Employment Agreement, he had an attorney-client relationship with
                                                                                                                5   FF. By virtue of that relationship, Liu owed fiduciary duties to FF, including the
                                                                                                                6   duties of loyalty, care, competence, and good faith. Liu breached those duties when
                                                                                                                7   he entered the Employment Agreement with FF, which, as detailed above, was
                                                                                                                8   extremely advantageous to Liu to FF’s detriment, by, among other things, failing to
                                                                                                                9   adequately describe Liu’s role in the transaction, providing guaranteed unreasonably
                                                                                                               10   excessive remuneration (some of which was collected) and other benefits to Liu, and
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                                                                                                               11   by greatly restricting the terms under which FF could terminate Liu, in violation of
                                                                                                               12   New York Rules of Professional Conduct 1.5, 1.7, and 1.8 and California Rules of
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                                                                                                               13   Professional Conduct 3-300, 3-310, and 4-200.
                                                                                                               14                             Seventh Affirmative Defense
                                                                                                               15                              (Breach of Fiduciary Duty)
                                                                                                               16           7.   Liu’s Complaint is barred, in whole or in part, on the ground that Liu
                                                                                                               17   violated the fiduciary duties that he owed to FF during his employment with FF. Liu
                                                                                                               18   owed fiduciary duties to FF as FF’s Global General Counsel, Global Chief
                                                                                                               19   Administrative Officer, and Global Senior Advisor and by virtue of his employment
                                                                                                               20   with FF. Those duties included the duties of loyalty and care. The duty of care
                                                                                                               21   requires corporate officers such as Liu to exercise good business judgment when
                                                                                                               22   making decisions on behalf of the corporation. Liu reached his duty of care when he,
                                                                                                               23   among other things, failed to act as a reasonably careful Global General Counsel,
                                                                                                               24   Global Chief Administrative Officer, and Global Senior Advisor would have acted
                                                                                                               25   under the same or similar circumstances. Liu also breached his duty of loyalty by
                                                                                                               26
                                                                                                               27   2
                                                                                                                     To the extent Liu’s conduct took place after November 1, 2018, California Rules
                                                                                                               28   of Professional Conduct 1.5, 1.7 and 1.8.1 apply.

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                                                                                                                1   failing to take action in the best interests of FF. Liu breached his duty of loyalty to
                                                                                                                2   FF by, among other things, abstaining, refusing and failing to undertake necessary
                                                                                                                3   tasks and actions as FF’s Global General Counsel, Global Chief Administrative
                                                                                                                4   Officer, and Global Senior Advisor, to further his own self interests. Because of
                                                                                                                5   these breaches, Liu’s termination was not wrongful and the Employment Agreement
                                                                                                                6   is rescindable.
                                                                                                                7                  Eighth Affirmative DefenseSeventh Affirmative Defense
                                                                                                                8                      (Rescission Based on Breach of Fiduciary Duty)
                                                                                                                9           8.7.   Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               10   upon the Employment Agreement, which, because of Liu’s beaches of the fiduciary
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                                                                                                               11   duties that he owed to FF and as described under FF’s Fifth and Sixth Affirmative
                                                                                                               12   Defenses, is rescindable.
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                                                                                                               13                   Ninth Affirmative DefenseEighth Affirmative Defense
                                                                                                               14                        (Employment Agreement is Void Ab Initio)
                                                                                                               15           9.8.   Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               16   upon the Employment Agreement, which, because of Liu’s violations of the New
                                                                                                               17   York Rules of Professional Conduct 1.5, 1.7, and 1.8 and California Rules of
                                                                                                               18   Professional Conduct 3-300, 3-310, and 4-200, California Business and Professions
                                                                                                               19   Code § 6125, Probate Code § 16004, and breaches of the fiduciary duties that he
                                                                                                               20   owed to FF, is void ab initio and thus unenforceable.
                                                                                                               21                   Tenth Affirmative DefenseNinth Affirmative Defense
                                                                                                               22                               (Unauthorized Practice of Law)
                                                                                                               23           10.9. Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               24   upon the Employment Agreement because FF was not required to pay Liu under the
                                                                                                               25   Employment Agreement for serving as Global General Counsel to FF as Liu was not
                                                                                                               26   admitted to practice law in California not registered as in-house counsel in California
                                                                                                               27   when he worked in California for FF.
                                                                                                               28

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                                                                                                                1                                Eleventh Affirmative Defense
                                                                                                                2                                     (Breach by Plaintiff)
                                                                                                                3           11.     Liu’s Complaint is barred, in whole or in part, due to Liu’s breaches of
                                                                                                                4   the Employment Agreement as detailed in FF’s SAC and incorporated herein. Liu’s
                                                                                                                5   failure to perform his duties as a Senior Board Member of Smart King, Global Chief
                                                                                                                6   Administrative Officer, Global General Counsel, and Global Senior Advisor of FF,
                                                                                                                7   constitute breaches of the Employment Agreement, excusing any purported
                                                                                                                8   nonperformance by FF.
                                                                                                                9                   Twelfth Affirmative DefenseTenth Affirmative Defense
                                                                                                               10                           (Workers’ Compensation Preemption)
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                                                                                                               11           12.10.Liu’s Complaint is barred, in whole or in part, to the extent it is based
                                                                                                               12   upon any alleged physical or emotional injury or mental distress, which are barred
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                                                                                                               13   by the exclusive remedy provisions of the California Workers’ Compensation Act.
                                                                                                               14   (Cal. Labor Code §§ 3600, 3602, and 5300).
                                                                                                               15               Thirteenth Affirmative DefenseEleventh Affirmative Defense
                                                                                                               16                                  (Avoidable Consequences)
                                                                                                               17           13.11.Liu’s Complaint is barred, in whole or in part, to the extent that Liu
                                                                                                               18   unreasonably failed to use the measures offered to prevent and correct alleged
                                                                                                               19   workplace misconduct, including alleged retaliation.          Reasonable use of such
                                                                                                               20   measures would have prevented at least some, if not all, of the harm Liu allegedly
                                                                                                               21   suffered.
                                                                                                               22                 Fourteenth Affirmative DefenseTwelfth Affirmative Defense
                                                                                                               23                        (Labor Code §§ 2854, 2858, 2859, and 2865)
                                                                                                               24           14.12.Liu’s Complaint, and each and every purported cause of action alleged
                                                                                                               25   in the Complaint, is barred by California Labor Code §§ 2854, 2858, 2859, and 2865
                                                                                                               26   because, as detailed in FF’s SAC and incorporated herein, Liu failed to use ordinary
                                                                                                               27   care and diligence, or exercise a reasonable degree of skill, in performing the terms
                                                                                                               28   and conditions of his employment.

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                                                                                                                1               Fifteenth Affirmative DefenseThirteenth Affirmative Defense
                                                                                                                2                             (Labor Code §§ 2856 and 2857)
                                                                                                                3           15.13.Liu’s is barred from any recovery in this action because, as detailed in
                                                                                                                4   FF’s SAC and incorporated herein, he failed to perform pursuant to the terms and
                                                                                                                5   conditions of his employment in conformity with either the usage of the place of
                                                                                                                6   performance, or as directed by his supervisors as required by California Labor Code
                                                                                                                7   § 2857 or failed to comply substantially with all directions concerning his
                                                                                                                8   employment, as required by Labor Code § 2856.
                                                                                                                9               Sixteenth Affirmative DefenseFourteenth Affirmative Defense
                                                                                                               10                          (Failure to Exhaust Internal Remedies)
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                                                                                                               11           16.14.Liu’s Complaint, and each and every purported cause of action alleged
                                                                                                               12   in the Complaint to the extent that the misconduct alleged was subject to internal
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                                                                                                               13   remedies known and available to Liu, is barred, in whole or in part, to the extent that
                                                                                                               14   Liu failed to exhaust available internal remedies.
                                                                                                               15               Seventeenth Affirmative DefenseFifteenth Affirmative Defense
                                                                                                               16                                       (Good Faith)
                                                                                                               17           17.15.Liu’s claim under Rule 10b-5 of the Securities and Exchange Act is
                                                                                                               18   barred because FF acted in good faith at all material times and in conformity with all
                                                                                                               19   applicable federal statues and all applicable rules and regulations thereunder.
                                                                                                               20               Eighteenth Affirmative DefenseSixteenth Affirmative Defense
                                                                                                               21                                   (Assumption of Risk)
                                                                                                               22           18.16.Liu’s claim under Rule 10b-5 of the Securities and Exchange Act is
                                                                                                               23   barred because Liu assumed the risk that he now complains of under that claim.
                                                                                                               24                             Nineteenth Affirmative Defense
                                                                                                               25                                   (Equitable Estoppel)
                                                                                                               26           19.    Liu’s Complaint is barred, in whole or in part, by the doctrine of
                                                                                                               27   estoppel. When FF entered into the Employment Agreement with Liu, Liu made
                                                                                                               28   multiple representations of material fact, upon which FF detrimentally relied.

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                                                                                                                1   However, once that agreement was entered and Liu began his employment at FF, Liu
                                                                                                                2   was unable or unwilling to perform, acting contrary to his prior asserted material
                                                                                                                3   representations. Therefore, Liu must be equitably estopped from relying upon and
                                                                                                                4   enforcing the Employment Agreement.
                                                                                                                5               Twentieth Affirmative DefenseSeventeenth Affirmative Defense
                                                                                                                6                              (Failure of Conditions Precedent)
                                                                                                                7           20.17.Liu’s Complaint is barred, in whole or in part, because he failed to meet
                                                                                                                8   certain conditions precedent to FF’s obligations under the Employment Agreement.
                                                                                                                9   Liu’s performance of his job duties was a condition precedent to receiving payment
                                                                                                               10   for such duties. However, Liu refused or failed to fulfill his job duties under his roles
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                                                                                                               11   with FF and to fulfill the promises that he made to FF to induce FF to hire him.
                                                                                                               12   Accordingly, there was a failure of these conditions precedent to Liu receiving any
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                                                                                                               13   benefits under the Employment Agreement. Specifically, aAs to the Smart King
                                                                                                               14   options, Liu’s employment on specific dates was a condition precedent to such
                                                                                                               15   options vesting. However, Liu was terminated prior to such vesting dates such that
                                                                                                               16   the Smart King options never vested. Moreover, Liu’s exercise of his options was a
                                                                                                               17   condition precedent to redeeming such options. However, Liu never attempted to
                                                                                                               18   exercise such options such that he did not redeem them. Accordingly, Liu’s failure
                                                                                                               19   to meet the above conditions precedent bar all claims premised on the Employment
                                                                                                               20   Agreement and relating to the Smart King options.
                                                                                                               21                              Twenty-first Affirmative Defense
                                                                                                               22                              (Intervening/Supervening Cause)
                                                                                                               23           21.     Liu’s Complaint is barred, in whole or in part, because any alleged harm
                                                                                                               24   was due to intervening and/or supervening causes. Liu’s complained of damages
                                                                                                               25   were proximately caused by his own failure to perform his job duties, as detailed in
                                                                                                               26   FF’s SAC and incorporated herein, which constitutes an intervening or superseding
                                                                                                               27   cause of the damages he alleges in the Complaint. In addition, Liu’s complained of
                                                                                                               28   damages were caused by the actions of a third party, Evergrande, and its failure to

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                                                                                                                1   abide by the terms of a contract.         Such actions constitute an intervening or
                                                                                                                2   superseding cause of the damages Liu alleges in the Complaint.
                                                                                                                3           Twenty-second Affirmative DefenseEighteenth Affirmative Defense
                                                                                                                4                                      (Unclean Hands)
                                                                                                                5           22.18.Liu’s Complaint is barred, in whole or in part, by the doctrine of unclean
                                                                                                                6   hands because Liu’s conduct was inequitable and his conduct relates to the subject
                                                                                                                7   matter of his claims. For example, Liu knew that, as FF’s outside legal counsel, he
                                                                                                                8   was required to abide by the California and New York Rules of Professional Conduct.
                                                                                                                9   However, Liu violated these rules by failing to make required written disclosures and
                                                                                                               10   entering into an unfair and unreasonable contract with his client. In addition, Liu
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                                                                                                               11   acted in bad faith when he refused to perform job functions and act in FF’s best
                                                                                                               12   interest, despite a fiduciary duty to do so.
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                                                                                                               13               Twenty-third Affirmative DefenseNineteenth Affirmative Defense
                                                                                                               14                                 (Contrary to Public Policy)
                                                                                                               15           23.19.Liu’s Complaint is barred, in whole or in part, by Liu’s own fraudulent
                                                                                                               16   and unlawful acts in violation of public policy. There is a strong public policy against
                                                                                                               17   attorneys entering into transactions and contracts taking an equity interest in their
                                                                                                               18   clients without complying with all pertinent ethical rules. These policies are codified
                                                                                                               19   under the California and New York Rules of Professional Conduct. However, Liu
                                                                                                               20   violated these policies by failing to make required written disclosures and entering
                                                                                                               21   into an unfair and unreasonable contract with his client. Accordingly, Liu’s conduct
                                                                                                               22   in violation of public policy prohibits him from recovering from FF.
                                                                                                               23               Twenty-fourth Affirmative DefenseTwentieth Affirmative Defense
                                                                                                               24                               (Failure to Mitigate Damages)
                                                                                                               25           24.20.Liu’s Complaint is barred, in whole or in part, because he failed to
                                                                                                               26   mitigate his alleged damages. Once terminated, Liu had an affirmative duty to
                                                                                                               27   mitigate any damages that he might incur as a result of his termination. However,
                                                                                                               28

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                                                                                                                1   FF is informed and believes that Liu has taken no step or has taken insufficient steps
                                                                                                                2   to mitigate his purported damages.
                                                                                                                3               Twenty-fifth Affirmative DefenseTwenty-first Affirmative Defense
                                                                                                                4                                     (Unjust Enrichment)
                                                                                                                5           25.21.Liu’s Complaint is barred, in whole or in part, because any relief by Liu
                                                                                                                6   would constitute unjust enrichment. As an initial matter, Liu is not entitled to any
                                                                                                                7   recovery under the Employment Agreement, thus any amount sought by Liu under
                                                                                                                8   that agreement would constitute unjust enrichment. To the extent that Liu is entitled
                                                                                                                9   to any recovery under the Employment Agreement, the amounts sought, including
                                                                                                               10   injunctive relief would constitute unjust enrichment.
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                                                                                                               11         Twenty-sixth Affirmative DefenseTwenty-second Affirmative Defense
                                                                                                               12                                        (In Pari Delicto)
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                                                                                                               13           26.22.Liu’s Complaint is barred, in whole or in part, by the doctrine of in pari
                                                                                                               14   delicto. As detailed in FF’s SAC and incorporated herein, Liu’s conduct was illegal.
                                                                                                               15   He violated multiple rules of professional conduct and FF is informed and believes,
                                                                                                               16   and based thereon alleges, that Liu violated California Business and Professions
                                                                                                               17   Code § 6125. Moreover, to the extent Liu alleges that FF violated any laws, which
                                                                                                               18   FF denies, Liu was an active participant and did nothing to prevent or stop that
                                                                                                               19   conduct. Thus, to the extent Liu claims any injury, he is entirely at fault or at least
                                                                                                               20   on equal fault with FF and is prohibited from recovery under the doctrine of in pari
                                                                                                               21   delicto.
                                                                                                               22                             Twenty-seventh Affirmative Defense
                                                                                                               23               (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                                                                                                               24           27.      Liu’s Complaint is barred, in whole or in part, on the ground that Liu
                                                                                                               25   breached the implied covenant of good faith and fair dealing in the Employment
                                                                                                               26   Agreement. Liu’s failure or refusal to perform did not constitute a direct breach of
                                                                                                               27   the Employment Agreement, his conduct frustrated the purpose of that agreement,
                                                                                                               28   destroying and injuring FF’s right to receive the benefits of that agreement.

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                                                                                                                1          Twenty-eighth Affirmative DefenseTwenty-third Affirmative Defense
                                                                                                                2                                 (Reservation of Rights)
                                                                                                                3           28.23.The defenses set forth herein reflect FF’s assessment based on the
                                                                                                                4   information of which FF currently is aware. FF expressly reserves, and does not
                                                                                                                5   waive any defenses.
                                                                                                                6           WHEREFORE, FF respectfully requests that this Court enter judgment in its
                                                                                                                7   favor and against Liu, dismiss Liu’s claims, and award FF its costs of suit and such
                                                                                                                8   other relief as this Court may deem appropriate.
                                                                                                                9   Dated: March 11, 2021                      TROUTMAN PEPPER HAMILTON
                                                                                                                                                               SANDERS LLP
                                                                                                               10
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                               11                                              By:
                                                                                                                                                                 Lauren E. Grochow
                                                                                                               12                                                Daniel Anziska
                                                                               I R V I N E , C A 92614-2545




                                                                                                                                                                 Mackenzie L. Willow-Johnson
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                                                                                                               13
                                                                                                                                                                    Attorneys for Defendants
                                                                                                               14                                                   FARADAY&FUTURE INC.,
                                                                                                                                                                    SMART KING LTD., JIAWEI
                                                                                                               15                                                   WANG, and CHAOYING DENG
                                                                                                               16
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                                                                                                                1   LAUREN E. GROCHOW, Bar No. 293601
                                                                                                                    lauren.grochow@troutman.com
                                                                                                                2   TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                                                                                    5 Park Plaza, Suite 1400
                                                                                                                3   Irvine, CA 92614-2545
                                                                                                                    Telephone: 949.622.2700
                                                                                                                4   Facsimile: 949.622.2739
                                                                                                                5   DANIEL N. ANZISKA, Pro Hac Vice
                                                                                                                    daniel.anziska@troutman.com
                                                                                                                6   TROUTMAN PEPPER HAMILTON SANDERS LLP
                                                                                                                    875 Third Avenue
                                                                                                                7   New York, NY 10022
                                                                                                                    Telephone: 212.704.6000
                                                                                                                8   Facsimile: 212.704.6288
                                                                                                                9   MACKENZIE L. WILLOW-JOHNSON, Pro Hac Vice
                                                                                                                    mackenzie.willow-johnson@troutman.com
                                                                                                               10   TROUTMAN PEPPER HAMILTON SANDERS LLP
T ROUTMAN P EPPER H AM ILTON S AN DERS LLP




                                                                                                                    305 Church at North Hills Street, Suite 1200
                                                                                                               11   Raleigh, NC 27609
                                                                                                                    Telephone: 919.740.9949
                                                                                                               12   Facsimile: 704.998.4051
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   Attorneys for Defendants
                                                                                                                    FARADAY&FUTURE INC., SMART KING LTD.,
                                                                                                               14   JIAWEI WANG, and CHAOYING DENG
                                                                                                               15                        UNITED STATES DISTRICT COURT
                                                                                                               16                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                               17                                WESTERN DIVISION
                                                                                                               18
                                                                                                               19   HONG LIU,                              Case No. 2:20-cv-08035-SVW-JPR
                                                                                                               20                  Plaintiff,              Honorable Stephen V. Wilson
                                                                                                               21           v.                             DEFENDANT SMART KING
                                                                                                                                                           LTD.’S SECOND AMENDED
                                                                                                               22   FARADAY&FUTURE INC.,                   ANSWER TO COMPLAINT
                                                                                                                    SMART KING LTD., JIAWEI
                                                                                                               23   WANG, AND CHAOYING DENG
                                                                                                               24                  Defendants.
                                                                                                               25
                                                                                                               26
                                                                                                               27
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                                                                                                                1           Defendant FF Intelligent Mobility Global Holdings Ltd. f/k/a Smart King,
                                                                                                                2   Ltd. (“Smart King”) hereby answers the Complaint (“Complaint”) of Plaintiff
                                                                                                                3   Hong Liu (“Liu”), as follows:
                                                                                                                4           1.    Smart King denies the allegations of Paragraph 1.
                                                                                                                5           2.    Smart King admits that Liu was a partner at Mayer Brown. Smart King
                                                                                                                6   denies the allegations in Paragraph 2 on information and belief.
                                                                                                                7           3.    Smart King admits that Yueting Jia (“Jia”) is Faraday&Future Inc.’s
                                                                                                                8   (“FF”) founder. Smart King denies the remaining allegations in Paragraph 3.
                                                                                                                9           4.    Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               10   as to the truth or falsity of the allegations of what Liu knew. Smart King denies the
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                                                                                                               11   remaining allegations in Paragraph 4.
                                                                                                               12           5.    Smart King denies the allegations in Paragraph 5.
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                                                                                                               13           6.    To the extent Paragraph 6 contains conclusions of law, which do not
                                                                                                               14   require a responsive pleading and on that basis, Smart King denies those conclusions.
                                                                                                               15   Smart King denies the remaining allegations in Paragraph 6.
                                                                                                               16           7.    Smart King does not challenge the Court’s subject matter jurisdiction
                                                                                                               17   over this action.
                                                                                                               18           8.    Smart King denies the allegations in Paragraph 8. The Southern District
                                                                                                               19   of New York does not have personal jurisdiction over Smart King in this action.
                                                                                                               20           9.    Smart King denies the allegations in Paragraph 9. The Court already
                                                                                                               21   found that venue is not proper in the Southern District of New York.
                                                                                                               22           10.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               23   as to the truth or falsity of the allegations in Paragraph 10 and on that ground, denies
                                                                                                               24   those allegations.
                                                                                                               25           11.   Smart King admits the allegations in Paragraph 11.
                                                                                                               26           12.   Smart King admits the allegations in Paragraph 12.
                                                                                                               27           13.   Smart King admits the allegations in Paragraph 13.
                                                                                                               28

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                                                                                                                1           14.   Smart King admits the allegations in Paragraph 14.
                                                                                                                2           15.   Smart King admits that Liu represented that he was a New York-based
                                                                                                                3   attorney. Smart King denies the remaining allegation in Paragraph 15 on information
                                                                                                                4   and belief.
                                                                                                                5           16.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                                6   as to the truth or falsity of the allegations in Paragraph 16 and on that ground, denies
                                                                                                                7   those allegations.
                                                                                                                8           17.   Smart King admits that, according to publicly available records Liu was
                                                                                                                9   admitted to the New York State Bar.
                                                                                                               10           18.   Smart King lacks knowledge or information sufficient to form a belief
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                                                                                                               11   as to the truth or falsity of the allegations in Paragraph 18 and on that ground, denies
                                                                                                               12   those allegations.
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                                                                                                               13           19.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               14   as to the truth or falsity of the allegations in Paragraph 19 and on that ground, denies
                                                                                                               15   those allegations.
                                                                                                               16           20.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               17   as to the truth or falsity of the allegations in Paragraph 20 and on that ground, denies
                                                                                                               18   those allegations.
                                                                                                               19           21.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               20   as to the truth or falsity of the allegations in Paragraph 21 and on that ground, denies
                                                                                                               21   those allegations.
                                                                                                               22           22.   Smart King admits that Liu was a partner at Mayer Brown. Smart King
                                                                                                               23   lacks knowledge or information sufficient to form a belief as to the truth or falsity of
                                                                                                               24   the allegations in Paragraph 22 and on that ground, denies those allegations.
                                                                                                               25           23.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               26   as to the truth or falsity of the allegations in Paragraph 23 and on that ground, denies
                                                                                                               27   those allegations.
                                                                                                               28

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                                                                                                                1           24.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                                2   as to the truth or falsity of the allegations in Paragraph 24 and on that ground, denies
                                                                                                                3   those allegations.
                                                                                                                4           25.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                                5   as to the truth or falsity of the allegations in Paragraph 25 and on that ground, denies
                                                                                                                6   those allegations.
                                                                                                                7           26.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                                8   as to the truth or falsity of the allegations in Paragraph 26 and on that ground, denies
                                                                                                                9   those allegations.
                                                                                                               10           27.   Smart King admits that Liu was a partner at Mayer Brown. Smart King
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                                                                                                               11   lacks knowledge or information sufficient to form a belief as to the truth or falsity of
                                                                                                               12   the allegation that “[b]etween October 2017 and mid-February 2018” Liu was “at the
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   pinnacle of his success” and on that ground, denies those allegations. Smart King
                                                                                                               14   denies the remaining allegations in in Paragraph 27.
                                                                                                               15           28.   Smart King denies the allegations in Paragraph 28.
                                                                                                               16           29.   Smart King admits that Liu represented that he was “a globally
                                                                                                               17   respected professional with decades of experience” and that it believed that hiring
                                                                                                               18   Lie would benefit its business. Smart King denies the remaining allegations in
                                                                                                               19   Paragraph 29.
                                                                                                               20           30.   Smart King admits that Jia was FF’s founder and that Jia has filed a
                                                                                                               21   personal bankruptcy case in the United States Bankruptcy Court for the Central
                                                                                                               22   District of California. Smart King denies the remaining allegations in Paragraph 30.
                                                                                                               23           31.   Smart King admits that Liu met Jia at FF’s headquarters on October 17,
                                                                                                               24   2017. Smart King denies the remaining allegations in Paragraph 31.
                                                                                                               25           32.   Smart King denies the allegations in Paragraph 32.
                                                                                                               26           33.   Smart King denies the allegations in Paragraph 33.
                                                                                                               27           34.   Smart King denies the allegations in Paragraph 34.
                                                                                                               28           35.   Smart King denies the allegations in Paragraph 35.

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                                                                                                                1           36.   Smart King denies the allegations in Paragraph 36.
                                                                                                                2           37.   Smart King admits that during the month of January 2018, Liu met with
                                                                                                                3   Jia, Jiawei “Jerry” Wang (“Wang”), and Chaoying Deng (“Deng”) at FF’s
                                                                                                                4   headquarters in California.      Smart King denies the remaining allegations in
                                                                                                                5   Paragraph 37.
                                                                                                                6           38.   Smart King admits that Sidley Austin LLP was one of the law firms that
                                                                                                                7   handled FF’s Series A transaction with Evergrande. Smart King denies the remaining
                                                                                                                8   allegation in Paragraph 38.
                                                                                                                9           39.   Smart King denies the allegations in Paragraph 39.
                                                                                                               10           40.   Smart King admits that Liu was a partner at Mayer Brown. Smart King
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                                                                                                               11   lacks knowledge or information sufficient to form a belief as to the truth or falsity of
                                                                                                               12   the allegations of Liu’s beliefs and on that basis denies those allegations. Smart King
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   denies the remaining allegations in Paragraph 40.
                                                                                                               14           41.   Smart King denies the allegation in Paragraph 41.
                                                                                                               15           42.   To the extent the allegations in Paragraph 42 purport to describe, quote
                                                                                                               16   or characterize written communications or documents, the communications or
                                                                                                               17   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               18   as expressly stated therein.     Smart King denies the remaining allegations in
                                                                                                               19   Paragraph 42.
                                                                                                               20           43.   Smart King admits that on January 25, 2018, Liu entered into the
                                                                                                               21   Employment Agreement attached to the Complaint as Exhibit A. To the extent
                                                                                                               22   Paragraph 43 purports to describe, quote, or characterize the terms of the
                                                                                                               23   Employment Agreement, the document speaks for itself, should be read as a whole,
                                                                                                               24   and would provide only as expressly stated therein. Smart King denies the remaining
                                                                                                               25   allegations in Paragraph 43.
                                                                                                               26           44.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               27   as to the truth or falsity of the allegations in Paragraph 44 and on that basis denies
                                                                                                               28   those allegations. Smart King denies the remaining allegations in Paragraph 44.

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                                                                                                                1           45.   To the extent Paragraph 45 purports to describe, quote, or characterize
                                                                                                                2   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                3   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                                4   denies the remaining allegations in Paragraph 45.
                                                                                                                5           46.   To the extent Paragraph 46 purports to describe, quote, or characterize
                                                                                                                6   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                7   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                                8   denies the remaining allegations in Paragraph 46.
                                                                                                                9           47.   To the extent Paragraph 47 purports to describe, quote, or characterize
                                                                                                               10   the terms of the Employment Agreement, the document speaks for itself, should be
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                                                                                                               11   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               12   denies the remaining allegations in Paragraph 47.
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13           48.   To the extent Paragraph 48 purports to describe, quote, or characterize
                                                                                                               14   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               15   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               16   denies the remaining allegations in Paragraph 48.
                                                                                                               17           49.   To the extent Paragraph 49 purports to describe, quote, or characterize
                                                                                                               18   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               19   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               20   denies the remaining allegations in Paragraph 49.
                                                                                                               21           50.   To the extent Paragraph 50 purports to describe, quote, or characterize
                                                                                                               22   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               23   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               24   denies the remaining allegations in Paragraph 50.
                                                                                                               25           51.   To the extent Paragraph 51 purports to describe, quote, or characterize
                                                                                                               26   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               27   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               28   denies the remaining allegations in Paragraph 51.

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                                                                                                                1           52.   Smart King denies the allegations in Paragraph 52.
                                                                                                                2           53.   To the extent Paragraph 53 purports to describe, quote, or characterize
                                                                                                                3   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                4   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                                5   denies the remaining allegations in Paragraph 53.
                                                                                                                6           54.   To the extent Paragraph 54 purports to describe, quote, or characterize
                                                                                                                7   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                8   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                                9   denies the remaining allegations in Paragraph 54.
                                                                                                               10           55.   Smart King lacks knowledge or information sufficient to form a belief
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                                                                                                               11   as to what Liu would have done and on that basis denies those allegations. Smart
                                                                                                               12   King denies the remaining allegations in Paragraph 55.
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13           56.   To the extent Paragraph 56 purports to describe, quote or characterize
                                                                                                               14   the terms of the Director Agreement, the document speaks for itself, should be read
                                                                                                               15   as a whole, and would provide only as expressly stated therein. Smart King denies
                                                                                                               16   the remaining allegations in Paragraph 56.
                                                                                                               17           57.   To the extent Paragraph 57 purports to describe, quote, or characterize
                                                                                                               18   the terms of the Director Agreement, the document speaks for itself, should be read
                                                                                                               19   as a whole, and would provide only as expressly stated therein. Smart King denies
                                                                                                               20   the remaining allegations in Paragraph 57.
                                                                                                               21           58.   To the extent Paragraph 58 purports to describe, quote, or characterize
                                                                                                               22   the terms of the Director Agreement, the document speaks for itself, should be read
                                                                                                               23   as a whole, and would provide only as expressly stated therein. Smart King denies
                                                                                                               24   the remaining allegations in Paragraph 58.
                                                                                                               25           59.   Smart King lacks knowledge and information sufficient to form a belief
                                                                                                               26   as to the truth or falsity of the allegations in Paragraph 59 and on that ground, denies
                                                                                                               27   those allegations.
                                                                                                               28           60.   Smart King admits the allegations in Paragraph 60.

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                                                                                                                1           61.   Smart King lacks knowledge and information sufficient to form a belief
                                                                                                                2   as to the truth or falsity of the allegations in Paragraph 61 and on that ground, denies
                                                                                                                3   those allegations.
                                                                                                                4           62.   Smart King admits that it paid $600,000 to Liu on his start date. To the
                                                                                                                5   extent Paragraph 62 purports to describe, quote, or characterize the terms of the
                                                                                                                6   Employment Agreement, the document speaks for itself, should be read as a whole,
                                                                                                                7   and would provide only as expressly stated therein. Smart King denies the remaining
                                                                                                                8   allegations in Paragraph 62.
                                                                                                                9           63.   Smart King denies the allegations in Paragraph 63.
                                                                                                               10           64.   To the extent Paragraph 64 purports to describe, quote, or characterize
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                                                                                                               11   the terms of the September 2018 Resolutions, the documents speak for themselves,
                                                                                                               12   should be read as a whole, and would provide only as expressly stated therein. Smart
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                                                                                                               13   King denies the remaining allegations in Paragraph 64.
                                                                                                               14           65.   To the extent Paragraph 65 purports to describe, quote, or characterize
                                                                                                               15   the terms of the Employment Agreement or the September 2018 Resolutions, the
                                                                                                               16   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               17   as expressly stated therein. Smart King denies the remaining allegations in Paragraph
                                                                                                               18   65.
                                                                                                               19           66.   To the extent Paragraph 66 purports to describe, quote, or characterize
                                                                                                               20   the terms of the September 2018 Resolutions, the documents speak for themselves,
                                                                                                               21   should be read as a whole, and would provide only as expressly stated therein. Smart
                                                                                                               22   King denies the remaining allegations in Paragraph 66.
                                                                                                               23           67.   Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               24   as to the truth or falsity of the allegations in Paragraph 67 as to the documents issued
                                                                                                               25   by Solium and whether Liu accessed his information on Solium’s website. Smart
                                                                                                               26   King denies the remaining allegations in Paragraph 67.
                                                                                                               27
                                                                                                               28

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                                                                                                                1           68.   Smart King lacks knowledge and information sufficient to form a belief
                                                                                                                2   as to the truth or falsity of the allegations in Paragraph 68 and on that ground, denies
                                                                                                                3   those allegations.
                                                                                                                4           69.   Smart King denies the allegations in Paragraph 69.
                                                                                                                5           70.   Smart King denies the allegations in Paragraph 70.
                                                                                                                6           71.   Smart King denies the allegations in Paragraph 71.
                                                                                                                7           72.   Smart King denies the allegations in Paragraph 72.
                                                                                                                8           73.   Smart King denies the allegations in Paragraph 73.
                                                                                                                9           74.   To the extent the allegations in Paragraph 74 purport to describe, quote
                                                                                                               10   or characterize written communications or documents, the communications or
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                                                                                                               11   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               12   as expressly stated therein.     Smart King denies the remaining allegations in
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13   Paragraph 74.
                                                                                                               14           75.   To the extent the allegations in Paragraph 75 purport to describe, quote
                                                                                                               15   or characterize written communications or documents, the communications or
                                                                                                               16   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               17   as expressly stated therein. Smart King denies the allegations in Paragraph 75.
                                                                                                               18           76.   Smart King denies the allegations in Paragraph 76.
                                                                                                               19           77.   Smart King denies the allegations in Paragraph 77.
                                                                                                               20           78.   Smart King denies the allegations in Paragraph 78.
                                                                                                               21           79.   Smart King denies the allegations in Paragraph 79.
                                                                                                               22           80.   Smart King denies the allegations in Paragraph 80.
                                                                                                               23           81.   Smart King denies the allegations in Paragraph 81.
                                                                                                               24           82.   To the extent the allegations in Paragraph 82 purport to describe, quote
                                                                                                               25   or characterize written communications or documents, the communications or
                                                                                                               26   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                               27   as expressly stated therein.     Smart King denies the remaining allegations in
                                                                                                               28   Paragraph 82.

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                                                                                                                1           83.   To the extent the allegations in Paragraph 83 purport to describe, quote
                                                                                                                2   or characterize written communications or documents, the communications or
                                                                                                                3   documents speak for themselves, should be read as a whole, and would provide only
                                                                                                                4   as expressly stated therein.     Smart King denies the remaining allegations in
                                                                                                                5   Paragraph 83.
                                                                                                                6           84.   Smart King denies the allegations in Paragraph 84.
                                                                                                                7           85.   Smart King denies the allegations in Paragraph 85.
                                                                                                                8           86.   Smart King admits that Liu was terminated on February 11, 2019. Smart
                                                                                                                9   King denies the remaining allegations in Paragraph 86.
                                                                                                               10           87.   Smart King denies the allegations in Paragraph 87.
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                                                                                                               11           88.   Smart King denies the allegations in Paragraph 88.
                                                                                                               12           89.   Smart King denies the allegations in Paragraph 89.
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                                                                                                               13           90.   Smart King denies the allegations in Paragraph 90.
                                                                                                               14           91.   Smart King denies the allegations in Paragraph 91.
                                                                                                               15           92.   Smart King denies the allegations in Paragraph 92.
                                                                                                               16           93.   Smart King denies the allegations in Paragraph 93.
                                                                                                               17           94.   Smart King denies the allegations in Paragraph 94.
                                                                                                               18           95.   To the extent Paragraph 95 purports to describe, quote or characterize
                                                                                                               19   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               20   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               21   denies the remaining allegations in Paragraph 95.
                                                                                                               22           96.   To the extent Paragraph 96 purports to describe, quote or characterize
                                                                                                               23   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               24   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               25   denies the remaining allegations in Paragraph 96.
                                                                                                               26           97.   To the extent Paragraph 97 purports to describe, quote or characterize
                                                                                                               27   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               28

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                                                                                                                1   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                                2   denies the remaining allegations in Paragraph 97.
                                                                                                                3           98.   To the extent Paragraph 98 purports to describe, quote, or characterize
                                                                                                                4   the terms of the September 2018 Resolutions, the documents speak for themselves,
                                                                                                                5   should be read as a whole, and would provide only as expressly stated therein. Smart
                                                                                                                6   King denies the remaining allegations in Paragraph 98.
                                                                                                                7           99.   Smart King admits that, in October 2019, Jia filed for bankruptcy
                                                                                                                8   protection in the United States. To the extent Paragraph 99 purports to describe,
                                                                                                                9   quote, or characterize the documents filed with the bankruptcy court, the document
                                                                                                               10   speaks for themselves, should be read as a whole, and would provide only as
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                                                                                                               11   expressly stated therein. To the extent Paragraph 99 contains conclusions of law,
                                                                                                               12   which do not require a responsive pleading and on that basis, Smart King denies those
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                                                                                                               13   conclusions. Smart King denies the remaining allegations in Paragraph 99.
                                                                                                               14           100. Smart King denies the allegations in Paragraph 100.
                                                                                                               15           101. Smart King denies the allegations in Paragraph 101.
                                                                                                               16           102. Smart King lacks knowledge or information sufficient to form a belief
                                                                                                               17   as to the truth or falsity of the allegations in Paragraph 102 relating to Liu’s
                                                                                                               18   “extensive client relationships” that he “transitioned to colleagues” and on that
                                                                                                               19   ground, denies those allegations. Smart King denies the allegations in Paragraph
                                                                                                               20   102.
                                                                                                               21           103. Smart King denies the allegations of Paragraph 103.
                                                                                                               22           104. Smart King admits that on December 17, 2019, the office of the United
                                                                                                               23   States Trustee filed a motion in Jia’s bankruptcy case, seeking the appointment of a
                                                                                                               24   Chapter 11 trustee. Smart King denies the remaining allegations in Paragraph 104.
                                                                                                               25           105. Smart King denies the allegations in Paragraph 105.
                                                                                                               26           106. Smart King denies the allegations in Paragraph 106.
                                                                                                               27           107. Smart King denies the allegations in Paragraph 107.
                                                                                                               28           108. Smart King denies the allegations in Paragraph 108.

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                                                                                                                1           109. Smart King incorporates each of its previous responses as if fully set
                                                                                                                2   forth herein.
                                                                                                                3           110. Smart King denies the allegations in Paragraph 110.
                                                                                                                4           111. Smart King denies the allegations in Paragraph 111.
                                                                                                                5           112. To the extent Paragraph 112 purports to describe, quote, or characterize
                                                                                                                6   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                7   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                                8   denies the remaining allegations in Paragraph 112.
                                                                                                                9           113. To the extent Paragraph 113 purports to describe, quote, or characterize
                                                                                                               10   the terms of the Employment Agreement, the document speaks for itself, should be
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                                                                                                               11   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               12   denies the remaining allegations in Paragraph 113.
                                                                               I R V I N E , C A 92614-2545
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                                                                                                               13           114. To the extent Paragraph 114 purports to describe, quote, or characterize
                                                                                                               14   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                               15   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               16   denies the remaining allegations in Paragraph 114.
                                                                                                               17           115. Smart King denies the allegations in Paragraph 115.
                                                                                                               18           116. Smart King denies the allegations in Paragraph 116.
                                                                                                               19           117. Smart King incorporates each of its previous responses as if fully set
                                                                                                               20   forth herein.
                                                                                                               21           118. Smart King denies the remaining allegation in Paragraph 118.
                                                                                                               22           119. Smart King denies the allegations in Paragraph 119.
                                                                                                               23           120. Smart King admits that Liu was a partner at Mayer Brown prior to
                                                                                                               24   joining FF. Smart King denies the remaining allegation in Paragraph 120.
                                                                                                               25           121. Smart King denies the allegations in Paragraph 121.
                                                                                                               26           122. Smart King denies the allegations in Paragraph 122.
                                                                                                               27           123. Smart King denies the allegations in Paragraph 123.
                                                                                                               28

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                                                                                                                1           124. Smart King incorporates each of its previous responses as if fully set
                                                                                                                2   forth herein.
                                                                                                                3           125. Smart King denies the allegations in Paragraph 125.
                                                                                                                4           126. Smart King denies the allegations in Paragraph 126.
                                                                                                                5           127. Smart King admits that Liu was a partner at Mayer Brown prior to
                                                                                                                6   joining FF. Smart King denies the remaining allegation in Paragraph 127.
                                                                                                                7           128. Smart King denies the allegations in Paragraph 128.
                                                                                                                8           129. Smart King denies the allegations in Paragraph 129.
                                                                                                                9           130. Smart King denies the allegations in Paragraph 130.
                                                                                                               10           131. Smart King incorporates each of its previous responses as if fully set
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                                                                                                               11   forth herein.
                                                                                                               12           132. Smart King denies the allegations in Paragraph 132.
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                                                                                                               13           133. Smart King denies the allegations in Paragraph 133.
                                                                                                               14           134. Smart King denies the allegations in Paragraph 134.
                                                                                                               15           135. Smart King denies the allegations in Paragraph 135.
                                                                                                               16           136. Smart King incorporates each of its previous responses as if fully set
                                                                                                               17   forth herein.
                                                                                                               18           137. Smart King denies the allegations in Paragraph 137.
                                                                                                               19           138. Smart King denies the allegations in Paragraph 138.
                                                                                                               20           139. Smart King denies the allegations in Paragraph 139.
                                                                                                               21           140. Smart King denies the allegations in Paragraph 140.
                                                                                                               22           141. Smart King incorporates each of its previous responses as if fully set
                                                                                                               23   forth herein.
                                                                                                               24           142. Smart King denies the allegations in Paragraph 142.
                                                                                                               25           143. Smart King denies the allegations in Paragraph 143.
                                                                                                               26           144. Smart King denies the allegations in Paragraph 144.
                                                                                                               27           145. Smart King denies the allegations in Paragraph 145.
                                                                                                               28           146. Smart King denies the allegations in Paragraph 146.

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                                                                                                                1           147. Smart King incorporates each of its previous responses as if fully set
                                                                                                                2   forth herein.
                                                                                                                3           148. To the extent Paragraph 148 purports to describe, quote, or characterize
                                                                                                                4   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                5   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                                6   denies the remaining allegations in Paragraph 148.
                                                                                                                7           149. To the extent Paragraph 149 purports to describe, quote, or characterize
                                                                                                                8   the terms of the Employment Agreement, the document speaks for itself, should be
                                                                                                                9   read as a whole, and would provide only as expressly stated therein. Smart King
                                                                                                               10   denies the remaining allegations in Paragraph 149.
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                                                                                                               11           150. Smart King denies the allegations in Paragraph 150.
                                                                                                               12           151. Smart King denies the allegations in Paragraph 151.
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                                                                                                               13           152. Smart King asserts that no response is required to the prayer for relief
                                                                                                               14   on page 28 of the Complaint. To the extent that the paragraphs of that clause may
                                                                                                               15   be deemed to allege any factual or legal entitlement to the relief requested, Smart
                                                                                                               16   King denies each and every such allegation and specifically denies that Liu is
                                                                                                               17   entitled to any relief, including, but not limited to, the relief requested in subparts 1
                                                                                                               18   through 11 thereof.
                                                                                                               19           153. All allegations not specifically admitted or responded to are denied.
                                                                                                               20                                AFFIRMATIVE DEFENSES
                                                                                                               21           Without assuming the burden of proof as to any of the defenses set forth herein
                                                                                                               22   where such burden would otherwise rest with Liu, Smart King alleges the following
                                                                                                               23   affirmative defenses to the Complaint and to the relief sought therein:
                                                                                                               24                                  First Affirmative Defense
                                                                                                               25                                  (Failure to State a Claim)
                                                                                                               26           1.      Liu’s Complaint fails in whole or in part to state a claim against Smart
                                                                                                               27   King upon which relief may be granted.
                                                                                                               28

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                                                                                                                1                               Second Affirmative Defense
                                                                                                                2                                  (Constructive Fraud)
                                                                                                                3           2.   Liu’s Complaint and the causes of action alleged therein are barred, in
                                                                                                                4   whole or in part, because of the constructive fraud that Liu committed in entering the
                                                                                                                5   Employment Agreement with FF and Smart King. As memorialized in the executed
                                                                                                                6   October 20, 2017 Engagement Letter (that Liu executed on Mayer’s behalf), the
                                                                                                                7   Work Plan, and the accompanying documents provided by Mayer Brown and Liu to
                                                                                                                8   FF, Liu and FF had an attorney client relationship. By virtue of that relationship, Liu
                                                                                                                9   owed FF fiduciary duties, including the duty of care, loyalty, competence, good faith,
                                                                                                               10   the duty to inform FF of that information necessary to obtain FF’s informed written
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                                                                                                               11   consent to the transaction under governing rules of professional responsibility, and
                                                                                                               12   the duty to fully disclose all material facts within his knowledge and which FF was
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                                                                                                               13   ignorant. Liu owed these duties to FF at the time that he entered the Employment
                                                                                                               14   Agreement with FF.
                                                                                                               15           As detailed in FF’s Second Amended Complaint (“SAC”) and incorporated
                                                                                                               16   herein, the Employment Agreement was extremely advantageous to Liu to FF’s and
                                                                                                               17   Smart King’s detriment, by, among other things, providing guaranteed remuneration
                                                                                                               18   and other benefits to Liu, advancement of millions of dollars upon termination,
                                                                                                               19   immediate vesting of options even if it was found that Liu breached his fiduciary
                                                                                                               20   obligations to FF (again, without disclosing the material adverse consequences that
                                                                                                               21   could result to FF and its indirect parent company, Smart King, as a result), and by
                                                                                                               22   unconscionably restricting the terms under which FF and Smart King could terminate
                                                                                                               23   Liu. Liu knew, or should have known, that the Employment Agreement was
                                                                                                               24   extremely advantageous to himself to the detriment of FF and Smart King, but misled
                                                                                                               25   FF and Smart King, in breach of his duties of care, loyalty, competence, good faith,
                                                                                                               26   and the duty to fully disclose all material facts within his knowledge and which FF
                                                                                                               27   and Smart King were ignorant, by using his undue influence over FF and Smart King
                                                                                                               28

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                                                                                                                1   and omitting that the terms of the Employment Agreement were not fair and
                                                                                                                2   reasonable to FF and Smart King.
                                                                                                                3           Liu was legally bound under the New York and California Rules of
                                                                                                                4   Professional Conduct, as applicable, to disclose that the transaction was not fair and
                                                                                                                5   reasonable, to properly disclose his role in the transaction, to advise FF in writing to
                                                                                                                6   obtain independent counsel, and to give FF adequate time to seek that independent
                                                                                                                7   counsel. Liu omitted this information and failed to act in order to mislead FF and
                                                                                                                8   Smart King into entering into the Employment Contract. FF and Smart King
                                                                                                                9   justifiably relied on Liu based, in part, on his position as FF’s attorney when it entered
                                                                                                               10   the Employment Agreement.
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                                                                                                               11                                Third Affirmative Defense
                                                                                                               12                               (Rescission Based on Fraud)
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                                                                                                               13           3.   Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               14   upon the Employment Agreement, which, based on the constructive fraud that Liu
                                                                                                               15   committed against FF and Smart King, as detailed under Smart King’s First
                                                                                                               16   Affirmative Defense, is rescindable.
                                                                                                               17                                Fourth Affirmative Defense
                                                                                                               18                                (No Wrongful Termination)
                                                                                                               19           4.   To the extent that Liu alleges that Smart King somehow wrongfully
                                                                                                               20   terminated him from his roles at FF or from his role as a member of Smart King’s
                                                                                                               21   Board of Directors, from which we resigned, Liu has not and cannot point to any
                                                                                                               22   potential or actual violation by Smart King of a fundamental, substantial and well-
                                                                                                               23   established public policy of state law grounded in a statute or constitutional
                                                                                                               24   provision, nor can Liu point to any complaint made to Smart King regarding the
                                                                                                               25   same. As such, Liu’s allegations are, at best, mere disagreements about policy and,
                                                                                                               26   thus are not actionable.
                                                                                                               27
                                                                                                               28

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                                                                                                                1                                 Fifth Affirmative Defense
                                                                                                                2          (Reasonable, Good Faith, Non-Discriminatory, and Non-Retaliatory)
                                                                                                                3           5.   To the extent that Liu alleges that Smart King somehow wrongfully
                                                                                                                4   terminated him from his roles at FF or from his role as a member of Smart King’s
                                                                                                                5   Board of Directors, from which we resigned, Liu’s claim for wrongful termination is
                                                                                                                6   barred to the extent that Smart King had good cause to terminate Liu. Smart King
                                                                                                                7   acted reasonably, in good faith, and in a non-discriminatory and non-retaliatory
                                                                                                                8   manner. Liu was terminated for his failure to perform under his rolesthe following
                                                                                                                9   specific tasks as FF’s Global General Counsel, Global Chief Administrative Officer,
                                                                                                               10   and Global Senior Advisor, and he similarly did not perform under his role as a
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                                                                                                               11   member of Smart King’s Board of Directors: (i) failure to lead FF to an IPO; (ii)
                                                                                                               12   failure to connect FF with investment banks; (iii) failure to assist FF when its Series
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                                                                                                               13   A investor, Evergrande Health Industry Group backed-out of its funding
                                                                                                               14   commitment; (iv) failure to provide substantive advice as to the EVelozcity litigation,
                                                                                                               15   vendor concerns regarding indemnification, the recording of internal FF meetings,
                                                                                                               16   and a potential reduction in FF’s workforce; and (v) repeatedly harassed FF’s equity
                                                                                                               17   incentive program manager and threatened to fire FF’s outside counsel when it
                                                                                                               18   decline to provide him with grants at illegal exercise prices.                failure to
                                                                                                               19   failure to failure to advice. Liu’s was also terminated for his serious breaches of
                                                                                                               20   contract and the fiduciary duties that he owed, including, but not limited to, the duties
                                                                                                               21   of loyalty, care, and competence.
                                                                                                               22                                Sixth Affirmative Defense
                                                                                                               23    (Breach of Fiduciary Duty for Violation of the Rules of Professional Conduct)
                                                                                                               24           6.   Liu’s Complaint is barred, in whole or in part, on the ground that Liu
                                                                                                               25   breached the fiduciary duties that he owed to FF by his violation of New York Rules
                                                                                                               26   of Professional Conduct 1.5, 1.7 and 1.8 and California Rules of Professional
                                                                                                               27
                                                                                                               28

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                                                                                                                1   Conduct 3-300, 3-310, and 4-200.1 Liu is a New York barred attorney and was thus
                                                                                                                2   subject to the New York Rules of Professional Conduct at the time that he entered
                                                                                                                3   into the Employment Agreement with FF and Smart King. At the time that Liu
                                                                                                                4   negotiated and entered the Employment Agreement, he had an attorney-client
                                                                                                                5   relationship with FF. By virtue of that relationship, Liu owed fiduciary duties to FF,
                                                                                                                6   including the duties of loyalty, care, competence, and good faith. Liu breached those
                                                                                                                7   duties when he entered the Employment Agreement with FF and Smart King, which,
                                                                                                                8   as detailed above, was extremely advantageous to Liu to FF’s and Smart King’s
                                                                                                                9   detriment, by, among other things, failing to adequately describe Liu’s role in the
                                                                                                               10   transaction, providing guaranteed unreasonably excessive remuneration (some of
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                                                                                                               11   which was collected), and other benefits to Liu, and by greatly restricting the terms
                                                                                                               12   under which FF and Smart King could terminate Liu, in violation of New York Rules
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                                                                                                               13   of Professional Conduct 1.5, 1.7 and 1.8 and California Rules of Professional
                                                                                                               14   Conduct 3-300, 3-310, and 4-200.
                                                                                                               15                              Seventh Affirmative Defense
                                                                                                               16                               (Breach of Fiduciary Duty)
                                                                                                               17           7.   Liu’s Complaint is barred, in whole or in part, on the ground that Liu
                                                                                                               18   violated the fiduciary duties that he owed to FF and Smart King during his
                                                                                                               19   employment with FF and service as a member of Smart King’s Board of Directors.
                                                                                                               20   Liu owed fiduciary duties to FF as FF’s Global General Counsel, Global Chief
                                                                                                               21   Administrative Officer, and Global Senior Advisor, and by virtue of his employment
                                                                                                               22   with FF. Liu owed fiduciary duties to Smart King as a member of its Board of
                                                                                                               23   Directors. Those duties included the duties of loyalty and care. The duty of care
                                                                                                               24   requires corporate officers such as Liu to exercise good business judgment when
                                                                                                               25   making decisions on behalf of the corporation. Liu reached his duty of care when he,
                                                                                                               26
                                                                                                               27   1
                                                                                                                     To the extent Liu’s conduct took place after November 1, 2018, California Rules
                                                                                                               28   of Professional Conduct 1.5, 1.7 and 1.8.1 apply.

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                                                                                                                1   among other things, failed to act as a reasonably careful Global General Counsel,
                                                                                                                2   Global Chief Administrative Officer, Global Senior Advisor, and Smart King Board
                                                                                                                3   Member would have acted under the same or similar circumstances. Liu also
                                                                                                                4   breached his duty of loyalty by failing to take action in the best interests of FF and
                                                                                                                5   Smart King. Liu breached his duty of loyalty to FF and Smart King by, among other
                                                                                                                6   things, abstaining, refusing and failing to undertake necessary tasks and actions as
                                                                                                                7   FF’s Global General Counsel, Global Chief Administrative Officer, Global Senior
                                                                                                                8   Advisor, and Smart King Board Member to further his own self interests. Because
                                                                                                                9   of these breaches, Liu’s termination was not wrongful and the Employment
                                                                                                               10   Agreement is rescindable.
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                                                                                                               11                  Eighth Affirmative DefenseSeventh Affirmative Defense
                                                                                                               12                      (Rescission Based on Breach of Fiduciary Duty)
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                                                                                                               13           8.7.   Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               14   upon the Employment Agreement, which, because of Liu’s beaches of the fiduciary
                                                                                                               15   duties that he owed to FF and Smart King and as described under Smart King’s Fifth
                                                                                                               16   and Sixth Affirmative Defenses, is rescindable.
                                                                                                               17                   Ninth Affirmative DefenseEighth Affirmative Defense
                                                                                                               18                        (Employment Agreement is Void Ab Initio)
                                                                                                               19           9.8.   Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               20   upon the Employment Agreement, which, because of Liu’s violations of the New
                                                                                                               21   York Rules of Professional Conduct 1.5, 1.7 and 1.8 and California Rules of
                                                                                                               22   Professional Conduct 3-300 3-310, and 4-200, California Business and Professions
                                                                                                               23   Code § 6125, Probate Code § 16004, and breaches of the fiduciary duties that he
                                                                                                               24   owed to FF and Smart King, is void ab initio and thus unenforceable.
                                                                                                               25                   Tenth Affirmative DefenseNinth Affirmative Defense
                                                                                                               26                              (Unauthorized Practice of Law)
                                                                                                               27           10.9. Liu’s Complaint and the claims therein fail to the extent that they rely
                                                                                                               28   upon the Employment Agreement because FF and Smart King were not required to

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                                                                                                                1   pay Liu under the Employment Agreement for serving as Global General Counsel to
                                                                                                                2   FF as Liu was not admitted to practice law in California not registered as in-house
                                                                                                                3   counsel in California when he worked in California for FF.
                                                                                                                4                               Eleventh Affirmative Defense
                                                                                                                5                                    (Breach by Plaintiff)
                                                                                                                6           11.   Liu’s Complaint is barred, in whole or in part, due to Liu’s breaches of
                                                                                                                7   the Employment Agreement as detailed in FF’s SAC which is incorporated herein.
                                                                                                                8   Liu’s failure to perform his duties as a Senior Board Member of Smart King, Global
                                                                                                                9   Chief Administrative Officer, Global General Counsel, and Global Senior Advisor
                                                                                                               10   of FF, and member of Smart King’s Board of Directors, constitute breaches of the
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                                                                                                               11   Employment Agreement, excusing any purported nonperformance by FF and Smart
                                                                                                               12   King.
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                                                                                                               13                 Twelfth Affirmative DefenseTenth Affirmative Defense
                                                                                                               14                          (Workers’ Compensation Preemption)
                                                                                                               15           12.10.Liu’s Complaint is barred, in whole or in part, to the extent it is based
                                                                                                               16   upon any alleged physical or emotional injury or mental distress, which are barred
                                                                                                               17   by the exclusive remedy provisions of the California Workers’ Compensation Act.
                                                                                                               18   (Cal. Labor Code §§ 3600, 3602, and 5300).
                                                                                                               19               Thirteenth Affirmative DefenseEleventh Affirmative Defense
                                                                                                               20                                (Avoidable Consequences)
                                                                                                               21           13.11.Liu’s Complaint is barred, in whole or in part, to the extent that Liu
                                                                                                               22   unreasonably failed to use the measures offered to prevent and correct alleged
                                                                                                               23   workplace misconduct, including alleged retaliation.        Reasonable use of such
                                                                                                               24   measures would have prevented at least some, if not all, of the harm Liu allegedly
                                                                                                               25   suffered.
                                                                                                               26
                                                                                                               27
                                                                                                               28

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                                                                                                                1                Fourteenth Affirmative DefenseTwelfth Affirmative Defense
                                                                                                                2                        (Labor Code §§ 2854, 2858, 2859, and 2865)
                                                                                                                3           14.12.Liu’s Complaint, and each and every purported cause of action alleged
                                                                                                                4   in the Complaint, is barred by California Labor Code §§ 2854, 2858, 2859, and 2865
                                                                                                                5   because, as detailed in FF’s SAC and incorporated herein, Liu failed to use ordinary
                                                                                                                6   care and diligence, or exercise a reasonable degree of skill, in performing the terms
                                                                                                                7   and conditions of his employment.
                                                                                                                8               Fifteenth Affirmative DefenseThirteenth Affirmative Defense
                                                                                                                9                             (Labor Code §§ 2856 and 2857)
                                                                                                               10           15.13.Liu’s is barred from any recovery in this action because, as detailed in
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                                                                                                               11   FF’s SAC and incorporated herein, he failed to perform pursuant to the terms and
                                                                                                               12   conditions of his employment in conformity with either the usage of the place of
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                                                                                                               13   performance, or as directed by his supervisors as required by California Labor Code
                                                                                                               14   § 2857 or failed to comply substantially with all directions concerning his
                                                                                                               15   employment, as required by Labor Code § 2856.
                                                                                                               16               Sixteenth Affirmative DefenseFourteenth Affirmative Defense
                                                                                                               17                          (Failure to Exhaust Internal Remedies)
                                                                                                               18           16.14.Liu’s Complaint, and each and every purported cause of action alleged
                                                                                                               19   in the Complaint to the extent that the misconduct alleged was subject to internal
                                                                                                               20   remedies known and available to Liu, is barred, in whole or in part, to the extent that
                                                                                                               21   Liu failed to exhaust available internal remedies.
                                                                                                               22               Seventeenth Affirmative DefenseFifteenth Affirmative Defense
                                                                                                               23                                       (Good Faith)
                                                                                                               24           17.15.Liu’s claim under Rule 10b-5 of the Securities and Exchange Act is
                                                                                                               25   barred because Smart King acted in good faith at all material times and in conformity
                                                                                                               26   with all applicable federal statues and all applicable rules and regulations thereunder.
                                                                                                               27
                                                                                                               28

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                                                                                                                1               Eighteenth Affirmative DefenseSixteenth Affirmative Defense
                                                                                                                2                                   (Assumption of Risk)
                                                                                                                3           18.16.Liu’s claim under Rule 10b-5 of the Securities and Exchange Act is
                                                                                                                4   barred because Liu assumed the risk that he now complains of under that claim.
                                                                                                                5                              Nineteenth Affirmative Defense
                                                                                                                6                                    (Equitable Estoppel)
                                                                                                                7           19.     Liu’s Complaint is barred, in whole or in part, by the doctrine of
                                                                                                                8   estoppel. When FF and Smart King entered into the Employment Agreement with
                                                                                                                9   Liu, Liu made multiple representations of material fact, upon which FF and Smart
                                                                                                               10   King detrimentally relied. However, once that agreement was entered and Liu began
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                                                                                                               11   his employment at FF and service on Smart King’s Board of Directors, Liu was
                                                                                                               12   unable or unwilling to perform, acting contrary to his prior asserted material
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                                                                                                               13   representations. Therefore, Liu must be equitably estopped from relying upon and
                                                                                                               14   enforcing the Employment Agreement.
                                                                                                               15               Twentieth Affirmative DefenseSeventeenth Affirmative Defense
                                                                                                               16                             (Failure of Conditions Precedent)
                                                                                                               17           20.17.Liu’s Complaint is barred, in whole or in part, because he failed to meet
                                                                                                               18   certain conditions precedent to FF’s obligations under the Employment Agreement.
                                                                                                               19   Liu’s performance of his job duties was a condition precedent to receiving payment
                                                                                                               20   for such duties. However, Liu refused or failed to fulfill his job duties under his roles
                                                                                                               21   with FF and Smart King and to fulfill the promises that he made to FF and Smart
                                                                                                               22   King to induce FF and Smart King to hire him. Accordingly, there was a failure of
                                                                                                               23   these conditions precedent to Liu receiving any benefits under the Employment
                                                                                                               24   Agreement. Specifically, Aas to the Smart King options, Liu’s employment on
                                                                                                               25   specific dates was a condition precedent to such options vesting. However, Liu was
                                                                                                               26   terminated prior to such vesting dates such that the Smart King options never vested.
                                                                                                               27   Moreover, Liu’s exercise of his options was a condition precedent to redeeming such
                                                                                                               28   options. However, Liu never attempted to exercise such options such that he did not

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                                                                                                                1   redeem them. Accordingly, Liu’s failure to meet the above conditions precedent bar
                                                                                                                2   all claims premised on the Employment Agreement and relating to the Smart King
                                                                                                                3   options.
                                                                                                                4                               Twenty-first Affirmative Defense
                                                                                                                5                               (Intervening/Supervening Cause)
                                                                                                                6           21.      Liu’s Complaint is barred, in whole or in part, because any alleged harm
                                                                                                                7   was due to intervening and/or supervening causes. Liu’s complained of damages
                                                                                                                8   were proximately caused by his own failure to perform his job duties, as detailed in
                                                                                                                9   FF’s SAC and incorporated herein, which constitutes an intervening or superseding
                                                                                                               10   cause of the damages he alleges in the Complaint. In addition, Liu’s complained of
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                                                                                                               11   damages were caused by the actions of a third party, Evergrande, and its failure to
                                                                                                               12   abide by the terms of a contract.          Such actions constitute an intervening or
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                                                                                                               13   superseding cause of the damages Liu alleges in the Complaint.
                                                                                                               14           Twenty-second Affirmative DefenseEighteenth Affirmative Defense
                                                                                                               15                                        (Unclean Hands)
                                                                                                               16           22.18.Liu’s Complaint is barred, in whole or in part, by the doctrine of unclean
                                                                                                               17   hands because Liu’s conduct was inequitable and his conduct relates to the subject
                                                                                                               18   matter of his claims. For example, Liu knew that, as FF’s outside legal counsel, he
                                                                                                               19   was required to abide by the California and New York Rules of Professional Conduct.
                                                                                                               20   However, Liu violated these rules by failing to make required written disclosures and
                                                                                                               21   entering into an unfair and unreasonable contract with his client. In addition, Liu
                                                                                                               22   acted in bad faith when he refused to perform job functions and act in FF’s and Smart
                                                                                                               23   King’s best interest, despite a fiduciary duty to do so.
                                                                                                               24               Twenty-third Affirmative DefenseNineteenth Affirmative Defense
                                                                                                               25                                  (Contrary to Public Policy)
                                                                                                               26           23.19.Liu’s Complaint is barred, in whole or in part, by Liu’s own fraudulent
                                                                                                               27   and unlawful acts in violation of public policy. There is a strong public policy against
                                                                                                               28   attorneys entering into transactions and contracts taking an equity interest in their

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                                                                                                                1   clients without complying with all pertinent ethical rules. These policies are codified
                                                                                                                2   under the California and New York Rules of Professional Conduct. However, Liu
                                                                                                                3   violated these policies by failing to make required written disclosures and entering
                                                                                                                4   into an unfair and unreasonable contract with his client. Accordingly, Liu’s conduct
                                                                                                                5   in violation of public policy prohibits him from recovering from FF and Smart King.
                                                                                                                6               Twenty-fourth Affirmative DefenseTwentieth Affirmative Defense
                                                                                                                7                                (Failure to Mitigate Damages)
                                                                                                                8           24.20.Liu’s Complaint is barred, in whole or in part, because he failed to
                                                                                                                9   mitigate his alleged damages. Once terminated, Liu had an affirmative duty to
                                                                                                               10   mitigate any damages that he might incur as a result of his termination. However,
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                                                                                                               11   FF and Smart King are informed and believes that Liu has taken no step or has taken
                                                                                                               12   insufficient steps to mitigate his purported damages.
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                                                                                                               13               Twenty-fifth Affirmative DefenseTwenty-first Affirmative Defense
                                                                                                               14                                    (Unjust Enrichment)
                                                                                                               15           25.21.Liu’s Complaint is barred, in whole or in part, because any relief by Liu
                                                                                                               16   would constitute unjust enrichment. As an initial matter, Liu is not entitled to any
                                                                                                               17   recovery under the Employment Agreement, thus any amount sought by Liu under
                                                                                                               18   that agreement would constitute unjust enrichment. To the extent that Liu is entitled
                                                                                                               19   to any recovery under the Employment Agreement, the amounts sought, including
                                                                                                               20   injunctive relief would constitute unjust enrichment.
                                                                                                               21         Twenty-sixth Affirmative DefenseTwenty-second Affirmative Defense
                                                                                                               22                                       (In Pari Delicto)
                                                                                                               23           26.22.Liu’s Complaint is barred, in whole or in part, by the doctrine of in pari
                                                                                                               24   delicto. As detailed in FF’s SAC and incorporated herein, Liu’s conduct was illegal.
                                                                                                               25   He violated multiple rules of professional conduct and FF and Smart King are
                                                                                                               26   informed and believe, and based thereon alleges, that Liu violated California
                                                                                                               27   Business and Professions Code § 6125. Moreover, to the extent Liu alleges that FF
                                                                                                               28   or Smart King violated any laws, which Smart King denies, Liu was an active

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                                                                                                                1   participant and did nothing to prevent or stop that conduct. Thus, to the extent Liu
                                                                                                                2   claims any injury, he is entirely at fault or at least on equal fault with Smart King and
                                                                                                                3   is prohibited from recovery under the doctrine of in pari delicto.
                                                                                                                4                             Twenty-seventh Affirmative Defense
                                                                                                                5               (Breach of the Implied Covenant of Good Faith and Fair Dealing)
                                                                                                                6           27.      Liu’s Complaint is barred, in whole or in part, on the ground that Liu
                                                                                                                7   breached the implied covenant of good faith and fair dealing in the Employment
                                                                                                                8   Agreement. Liu’s failure or refusal to perform did not constitute a direct breach of
                                                                                                                9   the Employment Agreement, his conduct frustrated the purpose of that agreement,
                                                                                                               10   destroying and injuring Smart King’s right to receive the benefits of that agreement.
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                                                                                                               11          Twenty-eighth Affirmative DefenseTwenty-third Affirmative Defense
                                                                                                               12                                    (Reservation of Rights)
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                                                                                                               13           28.23.The defenses set forth herein reflect Smart King’s assessment based on
                                                                                                               14   the information of which Smart King currently is aware. Smart King expressly
                                                                                                               15   reserves, and does not waive any defenses.
                                                                                                               16           WHEREFORE, Smart King respectfully requests that this Court enter
                                                                                                               17   judgment in its favor and against Liu, dismiss Liu’s claims, and award Smart King
                                                                                                               18   its costs of suit and such other relief as this Court may deem appropriate.
                                                                                                               19   Dated: March 11, 2021                         TROUTMAN PEPPER HAMILTON
                                                                                                                                                                  SANDERS LLP
                                                                                                               20
                                                                                                               21                                                 By:
                                                                                                                                                                    Lauren E. Grochow
                                                                                                               22                                                   Daniel Anziska
                                                                                                                                                                    Mackenzie L. Willow-Johnson
                                                                                                               23
                                                                                                                                                                        Attorneys for Defendants
                                                                                                               24                                                       FARADAY&FUTURE INC.,
                                                                                                                                                                        SMART KING LTD., JIAWEI
                                                                                                               25                                                       WANG, and CHAOYING DENG
                                                                                                               26
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